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AUG 1 6 2021

IN THE UNITED STATES DISTRICT COURT gr us.vistaici court
FOR THE DISTRICT OF MARYLAND MT ORO Dox
(Northern Division)

DAVID J. BOSHEA *
*
Plaintiff, *
* Case No. 1:21-CV-00309-ELH
Vv. *
*
COMPASS MARKETING, INC. %
*
Defendant. *
*
* * * * ¥ * * * * * * * *

NOTICE OF DEPOSITION OF PLAINTIFF DANIEL J. WHITE

PLEASE TAKE NOTICE THAT Defendant Compass Marketing, Inc., by and through its
undersigned counsel and pursuant to the Federal Rules of Civil Procedure and the Local Rules of
this Court, will take the deposition on oral examination of Daniel J. White. The deposition will
take place at 238 West Street, Annapolis, Maryland 21401 or at another mutually agreeable
location, commencing at 9:30 a.m. on August 24, 2021, and may be continued from day to day
or to such other date as may be established until completed.

The deposition will be taken before a court reporter or other person authorized to
administer oaths and will be conducted in accordance with the Federal Rules of Civil Procedure
and the Local Rules of this Court. The deposition will be taken for the purposes of discovery, for
use at trial in this matter, and for any other purpose permitted under the applicable rules. The

deposition will be recorded stenographically and will be videotaped.
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Dated: July 28, 2021

rth) ff

Stephen B. Stern, Bar No. 25335

Heather K. Yeung, Bar No. 20050

KAGAN STERN MARINELLO & BEARD, LLC
238 West Street

Annapolis, Maryland 21401

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Email: yeung@kaganstern.com
Counsel for Defendant

Compass Marketing, Inc.
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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this 28th day of July, 2021, the foregoing Notice of
Deposition for Daniel J. White was served via electronic mail to:

Thomas J. Gagliardo

Gilbert Employment Law, PC
1100 Wayne Avenue, Suite 900
Silver Spring, MD 20910

Email: tgagliardo@gelawyer.com

and

Gregory J. Jordan

Mark Zito

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Attorneys for Plaintiff
David Boshea

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Stephen B. Stern
